Case 19-01615-jw       Doc 85    Filed 08/28/19 Entered 08/28/19 10:33:07            Desc Main
                                 Document      Page 1 of 2




 IN RE: Shirley K. Burgess                      CASE NO: 19-01615
                                                CHAPTER 13


                                                         DEBTOR’S STATEMENT
                                                     IN SUPPORT OF CONFIRMATION
                                 DEBTOR(S)




In connection with the Modified Chapter 13 Plan dated August 28, 2019 the debtor(s) hereby
state that they understand the following:

       (1)    The obligations set forth in the plan, including the amount, method, and timing of
              payments made to the trustee and/or directly to creditors;

       (2)    The consequences of any default under the plan including the direct payments to
              creditors; and

       (3)    That debtor(s) may not agree to sell property, or sell property, employ
              professionals, or incur debt (including modification of debt) during the term for
              the plan without the advance authorization of the Bankruptcy Court.




Date August 28, 2019                By: /s/ Shirley K. Burgess
                                          Shirley K. Burgess
Case 19-01615-jw   Doc 85   Filed 08/28/19 Entered 08/28/19 10:33:07   Desc Main
                            Document      Page 2 of 2
